

Maple Med., LLP v Sundaram (2020 NY Slip Op 07367)





Maple Med., LLP v Sundaram


2020 NY Slip Op 07367


Decided on December 9, 2020


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 9, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

ALAN D. SCHEINKMAN, P.J.
MARK C. DILLON
COLLEEN D. DUFFY
FRANCESCA E. CONNOLLY, JJ.


2019-09161
 (Index No. 51107/19)

[*1]Maple Medical, LLP, respondent, 
vNina Sundaram, etc., appellant, et al., defendant.


Nolan Heller Kauffman LLP, Albany, NY (Justin A. Heller and Brendan J. Carosi of counsel), for appellant.
Finger &amp; Finger, White Plains, NY (Carl L. Finger of counsel), for respondent.



DECISION &amp; ORDER
In an action, inter alia, for a declaratory judgment and to recover damages for unjust enrichment, the defendant Nina Sundaram appeals from an order and judgment (one paper) of the Supreme Court, Westchester County (Lawrence H. Ecker, J.), dated July 5, 2019. The order and judgment, insofar as appealed from. denied that branch of that defendant's motion which was for summary judgment on her counterclaim for a judgment declaring that she is entitled to receive certain funds in the amount of $67,212, granted that branch of the plaintiff's cross motion which was for summary judgment declaring that it is entitled to receive those funds, declared that the plaintiff is entitled to receive the subject funds, and directed the escrow agent to release the funds to the plaintiff.
ORDERED that the order and judgment is reversed insofar as appealed from, on the law, with costs, that branch of the motion of the defendant Nina Sundaram which was for summary judgment on her counterclaim for a judgment declaring that she is entitled to receive certain funds in the amount of $67,212 is granted, that branch of the plaintiff's cross motion which was for summary judgment declaring that it is entitled to receive those funds is denied, and the matter is remitted to the Supreme Court, Westchester County, for the entry of a judgment, among other things, declaring that the defendant Nina Sundaram is entitled to receive the subject funds in the principal amount of $67,212 and directing the release of the funds to that defendant 30 days after service of this decision and order with notice of entry, provided that in the event the plaintiff timely moves for leave to appeal to the Court of Appeals, the funds shall remain in escrow pending a determination of such motion and, if such motion is granted, pending a determination of that appeal.
We reverse the order and judgment insofar as appealed from for the reasons stated in Maple Med., LLP v Scott, ___ AD3d ___ [Appellate Division Docket No. 2019-09157; decided herewith]).
SCHEINKMAN, P.J., DILLON, DUFFY and CONNOLLY, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








